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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MICHAEL W. TILLEMAN,
individually and on behalf of all others
similarly situated,

        Plaintiff,

V.                                                   Case No. 5:18-C V-i 152-DAE
LEAFFILTER NORTH, LLC and
LEAFFILTER NORTH OF TEXAS,
LLC,

        Defendants.

                      PRELIMINARY APPROVAL ORDER

       The matter before the Court is the motion of Plaintiff Michael W. Tilleman ("Plaintiff")

for preliminary approval of a proposed class action settlement with Defendants LeafFilter North,

LLC and LeafFilter North     of Texas, LLC ("LeafFilter" or the "Defendants"), on behalf of a
proposed Settlement Class. The proposed Settlement would resolve all of the claims asserted by

Plaintiff and members of the proposed Settlement Class in this action against LeafFilter (the

"Litigation").

       This matter has been resolved by compromise as a result of direct negotiations and a

mediation session on April 9, 2019 with mediator Bruce A. Friedman, Esq. (the "Mediation").

Plaintiff and the Defendants (collectively, the "Parties"), through their respective counsel, have

executed and filed with this Court a Settlement Agreement that resolves this Litigation and all

claims asserted by Plaintiff and members of the proposed Settlement Class relating to or arising

from the unauthorized access and forwarding rules placed on three (3) LeafFilter employees' email

accounts, which allowed an unknown third-party to potentially view and/or access personally

identifiable information Plaintiff and members of the proposed Settlement Class (hereafter, the
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"Incident"). The Court, having reviewed the Settlement Agreement, including the exhibits thereto,

and considered the briefing submitted in support of the unopposed motion and the arguments of

counsel thereon, finds that the terms of the proposed Settlement are fair, reasonable and adequate

to Plaintiff and the Settlement Class and that the interests of fairness, consistency, and efficiency

are well served by a single class settlement. The Court therefore hereby GRANTS the preliminary

approval motion and ORDERS as follows.

        1.     Except as otherwise stated, this Order incorporates the defined terms set forth in

the Settlement Agreement.

       2.      Pursuant to Federal Rule of Civil Procedure 23(b)(3) for purposes of settlement,

and conditioned upon the Settlement Agreement receiving final approval following the final

approval hearing, the Court conditionally certifies the following Settlement Class:

       All persons whose personal identifying information was potentially compromised
       by unauthorized persons as a result of a phishing incident discovered by LeafFilter
       on or before August 21, 2018, specifically excluding: (I) officers, directors,
       members, shareholders, and board members of LeafFilter and/or its related entities;
       (ii) all Settlement Class Members who timely and validly request exclusion from
       and/or opt-out of the Settlement Class; (iii) the Judge or Magistrate Judge to whom
       the action is assigned and, any member of those Judges' staffs or immediate family
       members; and (vi) any other person found by a court of competent jurisdiction to
       be guilty under criminal law of initiating, causing, aiding or abetting the criminal
       activity or occurrence of The Incident or who pleads nob contendere to any such
       charge (as defined in Paragraph 43 of the Settlement Agreement).

       3.      With respect to the Settlement Class, the Court preliminarily finds, solely for

purposes of effectuating the Settlement and for no other purpose, that:

               (i) the members    of the Settlement Class are so numerous that joinder of all

        Settlement Class Members in this action would be impracticable, as the Settlement Class

       comprises more than two thousand members;




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       (ii) there are questions of law and fact common to the Settlement Class that

predominate over individual questions, including whether Defendants failed to adequately

safeguard Plaintiff's and the Settlement Class Members' personally identifiable

information ("P11"), whether Defendants failed to protect Plaintiff's and the Settlement

Class Members'   P11;   whether Defendants' email and computer systems and data security

practices used to protect Plaintiff's and the Settlement Class Members'    P11   violated federal

and/or state laws and/or Defendants' duties; whether Defendants violated the data security

statutes and data breach notification statutes applicable to Plaintiff and the Settlement

Class; whether Defendants failed to notify Plaintiff and members of the Settlement Class

about the Incident expeditiously and without unreasonable delay after it was discovered,

whether Defendants acted negligently in failing to safeguard Plaintiff's and the Settlement

Class Members' PH, whether Defendants entered into implied contracts with Plaintiff and

the members of the Settlement Class that included contract terms requiring Defendants to

protect the confidentiality of    P11   and have reasonable security measures; whether

Defendants' conduct constitutes a breach of their implied contracts with Plaintiff and the

Settlement Class, whether Plaintiff and the members of the Settlement Class are entitled to

damages as a result of Defendants' wrongful conduct; what equitable relief is appropriate

to redress Defendants' wrongful conduct; and what injunctive relief is appropriate to

redress the imminent and currently ongoing harm faced by members of the Class;

       (iii) the claims of Representative Plaintiff are typical of the claims of the Settlement

Class, and Representative Plaintiff does not have any conflicts of interest with the other

members of the Settlement Class;




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                (iv) Representative Plaintiff and Class Counsel can fairly and adequately represent

        and protect the interests of the Settlement Class Members, as shown by their extensive

        investigation, vigorous prosecution of this Litigation, and services performed to date; and

        (v) a class action is superior to other available methods for the fair and efficient

        adjudication of the controversy as it relates to the proposed Settlement, considering the

        interests of the Settlement Class Members in individually controlling the prosecution of

        separate actions, the extent and nature of any litigation concerning the controversy already

        commenced by Settlement Class Members, the desirability or undesirability of continuing

        the Litigation of these claims in this forum, and the difficulties likely to be encountered in

        the management of a class action.

        4.     The Settlement, on the terms and conditions set forth in the Settlement Agreement,

is preliminarily approved by this Court as being fair, reasonable, adequate, and within the range of

possible final judicial approval. The Court finds that the Settlement resulted from arm's-length

negotiations conducted in good faith by the Parties in a mediation with a third-party neutral and

reflects a settlement that was reached voluntarily after consultation with experienced legal counsel.

        5.     The Court provisionally finds that Plaintiff Michael W. Tilleman is able to fairly

and adequately represent the Settlement Class and appoints Michael W. Tilleman as the Class

Representative for the Settlement Class. Representative Plaintiff has diligently prosecuted this

Litigation.

        6.     The Court appoints William B. Federman of Federman & Sherwood as Class

Counsel, finding that Mr. Federman is able to fairly and adequately represent the Settlement Class,

and has competently represented Plaintiff and Settlement Class in this matter.




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        7.     The Court preliminarily approves the monetary relief to Settlement Class Members

provided in the Settlement Agreement and recognizes that LeafFilter has also agreed to make

certain security changes, set forth in Paragraph 51 of the Settlement Agreement, for no less than

three (3) years. Accordingly, the Court finds that the relief provided to Settlement Class Members

in the Settlement is within the range of fair, reasonable and adequate.

        8.     The Court approves the Notice Program set forth in the Settlement Agreement, as

well as the Notices attached as Exhibit B (Short Form Notice) and Exhibit C (Long Form Notice)

thereto. The Court finds that the Notices collectively provide a sufficiently clear and concise

description of the Litigation, the Settlement terms, and the rights and responsibilities of the

Settlement Class Members. The Court further finds that the plan for dissemination of the Notices

by (i) mailing the Short Form Notice and Claim Form to Settlement Class Members and (ii) posting

the Long Form Notice on the Settlement Website as set forth in the Settlement Agreement, is the

best means practicable, and is reasonably calculated to apprise the Settlement Class Members of

the Litigation and their right to participate in, object to, or exclude themselves from the Settlement.

Accordingly, the Settlement Administrator and/or the Parties and/or their counsel are directed to

disseminate the Notices pursuant to the terms of the Settlement Agreement.

        9.     The Court approves the Claim Form attached to the Settlement Agreement as

Exhibit A.

        10.    The Court approves and appoints KCC LLC as the Settlement Administrator, and

directs them to perform the duties set forth in the Settlement Agreement. As set forth in the

Settlement Agreement, all costs and expenses incurred by the Settlement Administrator in

connection with disseminating the notice and administering the Settlement shall be paid by the

Defendants.




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        11.    The Court will conduct a final approval hearing, at which time it will consider any

objections to the Settlement Agreement and determine whether the Settlement Agreement should

be finally approved, on   flO'tw'-f'           2, 2019 commencing at         I          p.m. Class

Counsel shall file their motion for final approval of the Settlement no later than thirty (30) days

prior to the final approval hearing.

        12.    Class Counsel shall file their motion for a Service Award for Representative

Plaintiff and for attorneys' fees, costs, and expenses concurrently with motion for entry of Final

Order and Judgment. These motions may be supplemented prior to the final approval hearing, and

the Court will rule upon the motions at the final approval hearing.

        13.    Any Settlement Class Member who intends to object to the fairness,

reasonableness, or adequacy of the Settlement, the proposed Attorneys' Fees and Costs, and/or the

proposed Service Award must submit timely notice of his or her objection to Paul 0. Karlsgodt of

Baker & Hostetler LLP as counsel for the Defendants and to William B. Federman of Federman

& Sherwood as Class Counsel, and the Court. Such notice shall: (1) state the objecting Settlement

Class Member's full name, current address, telephone number, and e-mail address (if any); (ii)

contain the objecting Settlement Class Member's original signature; (iii) set forth information

identifying the objector as a Settlement Class Member, including proof that the objector is within

the Settlement Class (e.g., copy of Notice or copy of original notice of the Data Disclosure); (iv)

set forth a statement of all grounds for the objection, including any legal support for the objection

that the objector believes applicable; (v) identify all counsel representing the objector; (vi) state

whether the objector and/or his or her counsel will appear at the Final Approval Hearing; (vii)

contain the signature of the objector's duly authorized attorney or other duly authorized

representative, along with documentation setting forth such representation; (viii) include a list,




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including case name, court, and docket number, of all other cases in which the objector and/or the

objector's counsel has filed an objection to any proposed class action settlement in the past threô

(3) years; and (ix) include copies of any documents that the objecting Settlement Class Member

wants to submit in support of his or her position.

        14.     All objections must be filed with the Court and delivered to counsel for the

Defendants and Class Counsel not later than     pkJ*v    ,,   2019. Objections must be delivered to

the Court, Class Counsel, and the Defendants' counsel at the addresses listed below:

       Court:

       Clerk of the Court
       U.S. District Court for the Western District of Texas, San Antonio Division
       655 E. Cesar E. Chavez Blvd., Room G65
       San Antonio, Texas 78206

       Class Counsel:

       William B. Federman
       FEDERMAN & SHERWOOD
       10205 N. Pennsylvania Ave.
       Oklahoma City, OK 73120

       Defendants' Counsel:

       Paul G. Karlsgodt
       Michelle R. Gomez
       BAKER & HOSTETLER LLP
       1801 California St., Ste. 4400
       Denver, CO 80202-2662

       No person will be entitled to be heard at the final approval hearing, and no written

objections will be received or considered by this Court at the final approval hearing, unless all

pertinent terms and conditions set forth above and in the Settlement Class Notice have been fully

met. If an objection is overruled, the objecting Settlement Class Member will be bound by the

terms of the Settlement and may not exclude him/herself later.




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       15.       Any person who elects to opt out of the Settlement Class shall not be bound by any

orders, including, but not limited to, any final order approving the Settlement, entered in this

Litigation, not be entitled to relief under the Settlement Agreement, not gain any rights by virtue

of the Settlement Agreement, and not be entitled to object to any aspect of the Settlement

Agreement. No person may opt out of the Settlement Class through a so-called "mass" or "class"

opt-out.

           16.   Any Settlement Class Member who wishes to be excluded from the Settlement must

fully comply with all pertinent terms and conditions set forth in the Long Form Notice. All

Requests for Exclusion must be postmarked no later than              icr   G',   2019. Settlement Class

Members who submit a timely and valid Request for Exclusion will have no rights under the

Settlement Agreement, will not share in the distribution of the Net Settlement Fund, and will not

be bound by the Settlement Agreement. Any Settlement Class Member who does not submit a

timely and valid Request for Exclusion shall be bound by all terms of the Settlement Agreement

and any final order approving the Settlement.

           17.   In the event this Court does not finally approve the Settlement Agreement, any and

all rights of the Parties existing prior to the execution of the Settlement Agreement, including but

not limited to Plaintiff's right to seek and the Defendants' right to oppose class certification in the

Litigation, shall be preserved, and the Litigation shall proceed in all respects as if the Settlement

Agreement and any related orders had not been entered. In such event, none of the terms of the

Settlement Agreement shall be admissible in any trial or otherwise used against any Party, except

to enforce the terms thereof that relate to the Parties' obligations in the event of termination.
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       18.     For the benefit of the Settlement Class Members and as provided in the Settlement

Agreement, this Court retains continuing jurisdiction over the implementation, interpretation, and

enforcement of the Settlement Agreement.

       19.     The Parties are directed to carry out their obligations under the Settlement

Agreement.

                                 Summary of Anplicable Dates

 I.      Preliminary Approval Order entered                     7 /% 1     I           ,   2019

 2.      Defendants to provide names and address of             7/I S/il               ,2019
         Settlement Class Members to the Settlement           [No later than seven (7)
         Administrator                                        calendar days after entry of this
                                                              Order]

 3.     Settlement Administrator to mail commence the             /'r      I   I   I   ,   2019
        Notice Program described in Section VI of the
                                                              [No later than thirty (30)
        Settlement Agreement                                  calendar days after entry of this
                                                              Order]

 4.      Deadline to Opt Out, or Object                        a / (11                 ,   2019
                                                              [No later than sixty (60)
                                                              calendar days from the
                                                              commencement of the Notice
                                                              Program]

 5.      Deadline to submit a Claim Form ("Claim               II IS   I   i°t         ,2019
         Deadline")                                           [No later than ninety (90)
                                                              calendar days from the
                                                              commencement of the Notice
                                                              Program]

 6.     Motion for Final Approval of Settlement and           ID /2& /11               ,   2019
        Application for Service Awards, Attorney Fees,
                                                              [No later than thirty (30)
        Costs & Expenses to be filed
                                                              calendar days prior to Final
                                                              Approval Hearing]

 7.     Final Approval Hearing                                 (l/2S/I1                ,   2019
                                                              at 130                   am/s
                                                             [At the Court's convenience, no
                                                             earlier than ninety (90) days after
                                                             entry of the Preliminary
                                                             Approval Order]


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IT IS   SO ORDERED.
